       Case 2:24-mc-00004-DAD-DB Document 19-1 Filed 04/03/24 Page 1 of 4


 1    BLANK ROME LLP
      Harrison Brown (SBN 291503)
 2    harrison.brown@blankrome.com
      2029 Century Park East | 6th Floor
 3    Los Angeles, CA 90067
      Telephone: 424.239.3400
 4    Facsimile: 424.239.3434
 5    Alan M. Freeman (admitted pro hac vice)
      alan.freeman@blankrome.com
 6    1825 Eye Street NW
      Washington, D.C. 20006
 7    Telephone: 202.420.2200
      Facsimile: 202.420.2201
 8
      Attorneys for Non-Party Movant
 9    ENVIRONMENTAL DEFENSE FUND, INC.
10

11                        UNITED STATES DISTRICT COURT
12                       EASTERN DISTRICT OF CALIFORNIA
13

14   CALIFORNIA SPORTFISHING                    Case No. 2:24-mc-0004-DAD-DB
     PROTECTION ALLIANCE,
15                                              MEMORANDUM OF POINTS AND
                              Plaintiff,        AUTHORITIES IN SUPPORT OF
16                                              UNOPPOSED MOTION FOR
            vs.                                 ADMINISTRATIVE RELIEF - TO
17                                              RENEW MOTION TO QUASH AND
                                                REASSIGN
18   PACIFIC BELL TELEPHONE
     COMPANY,                                   Hearing:
19                                              Date:           May 10, 2024
                              Defendant.        Time:           10:00 A.M.
20                                              Judge:          Hon. Deborah Barnes
                                                Place:          Robert T. Matsui
21                                                              United States Courthouse
                                                                501 I Street
22                                                              Courtroom 27, 8th floor
                                                                Sacramento, CA 95814
23
                                                Action Filed:        November 16, 2023
24                                              Trial Date:          N/A
25

26

27

28
     134999747                                                       Case No. 2:24-mc-00004-DAD-DB
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF UNOPPOSED MOTION FOR
             ADMINISTRATIVE RELIEF - TO RENEW MOTION TO QUASH AND REASSIGN
       Case 2:24-mc-00004-DAD-DB Document 19-1 Filed 04/03/24 Page 2 of 4



 1    I.      INTRODUCTION.
 2               On March 29, 2024, the Court entered an order denying non-party
 3    Environmental Defense Fund, Inc.’s (“EDF”) Motion to Quash (ECF No. 1) without
 4    prejudice to renewal for improper notice. (See ECF No. 18.) EDF respectfully moves
 5    for entry of an Order renewing the Motion to Quash and reassigning the instant matter
 6    to the Honorable Jeremy D. Peterson. As discussed herein: EDF’s failure to notice the
 7    Motion to Quash was the inadvertent result of a mistaken assumption of counsel;
 8    granting the relief sought will promote the efficient use of judicial resources and the
 9    just resolution of the issues in dispute; and Defendant Pacific Bell Telephone
10    Company (“Pacific Bell”) does not oppose the relief sought.
11    II.     FACTUAL BACKGROUND.
12            A.      The Underlying Case.
13               Pacific Bell is the sole defendant in California Sportfishing Protection Alliance
14    v. Pacific Bell Tel. Co., no. 2:21-cv-00073 (the “Underlying Case”), which is
15    currently pending in this District and assigned to Judge Peterson for all purposes.
16    (Declaration of Alan M. Freeman (“Freeman Decl., ¶ 2.) The Underlying Case
17    involves alleged violations of state and federal environmental laws. (Id.)
18               Within the Underlying Case, Pacific Bell served a third-party subpoena on
19    EDF, and that subpoena required compliance in the District of Columbia. (Id., ¶ 3.)
20    EDF opened a miscellaneous action in the U.S. District Court for the District of
21    Columbia for the purpose of filing a motion to quash the subpoena, see California
22    Sportfishing Protection Alliance v. Pacific Bell Tel Co., Case No. 23-mc-00125-TJK
23    (D.D.C.). (Id.) EDF’s Motion to Quash was entered on the docket on November 16,
24    2023. (Id.; see also ECF No. 1.) EDF’s Motion to Quash was fully briefed in the
25    District of Columbia before it was transferred to this District on December 28, 2023.
26    (Id.; see also ECF No. 9.) Upon transfer to this District, EDF’s Motion to Quash was
27    assigned to this Court. (Id.)
28
     134999747                                       2                    Case No. 2:24-mc-00004-DAD-DB
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF UNOPPOSED MOTION FOR
                ADMINISTRATIVE RELIEF - TO RENEW MOTION TO QUASH AND REASSIGN
       Case 2:24-mc-00004-DAD-DB Document 19-1 Filed 04/03/24 Page 3 of 4



 1               On January 8, 2024, the Courtroom Deputy issued a Minute Order directing
 2    that the Motion to Quash be re-noticed in accordance with Local Rule 251. (Id., ¶ 4;
 3    see also ECF No. 14.)
 4            B.      Relevance of the Underlying Case to the Motion to Quash.
 5               On January 10, 2024, Pacific Bell filed a Notice of Related Cases that explained
 6    EDF’s Motion to Quash arises out of a subpoena issued in the Underlying Case. (Id.,
 7    ¶ 5; see also ECF No. 16.) On January 12, 2024, EDF filed a Notice of Related Cases
 8    that explained its Motion to Quash arises out of a subpoena issued in the Underlying
 9    Case, and it respectfully submitted that reassignment to Judge Peterson would
10    promote the efficient use of judicial resources. (Id., ¶ 6; see also ECF No. 17.) EDF
11    mistakenly assumed its Motion would be administratively reassigned pursuant to
12    Local Civil Rule 123 and Rule (f)(2) of Appendix A to the Local Civil Rules, and
13    thus did not notice its Motion for a hearing before this Court. (Id.)
14               Since the parties filed their Notices of Related Cases, there have been several
15    legal rulings and procedural developments in the Underlying Case which are relevant
16    to the resolution of EDF’s Motion to Quash. Among other things, Judge Peterson has
17    made rulings with respect to both discoverability generally, and expert discovery in
18    particular, that may bear on the outcome of EDF’s Motion to Quash.
19            C.      Denial of the Motion to Quash, Without Prejudice.
20               On March 26, 2024, the Courtroom Deputy directed EDF’s counsel to re-notice
21    the Motion to Quash for a hearing. (Id., ¶ 7.) EDF and Pacific Bell conferred by video
22    and agreed to jointly move to reassign this case to Judge Peterson. (Id.) However,
23    while the joint motion to reassign was being prepared and before such motion could
24    be finalized, the Court denied the Motion to Quash, without prejudice to renewal. (Id.;
25    see also ECF No. 18.)
26    ///
27    ///
28
     134999747                                       3                   Case No. 2:24-mc-00004-DAD-DB
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF UNOPPOSED MOTION FOR
                ADMINISTRATIVE RELIEF - TO RENEW MOTION TO QUASH AND REASSIGN
       Case 2:24-mc-00004-DAD-DB Document 19-1 Filed 04/03/24 Page 4 of 4



 1    III.   ARGUMENT.
 2               EDF respectfully requests that the Motion to Quash should be renewed and
 3    reassigned to Judge Peterson. As explained, the failure to timely re-notice the Motion
 4    to Quash is the result of a mistaken assumption of counsel that should not be imputed
 5    to EDF. Renewing the Motion to Quash and deciding it on the merits will not
 6    prejudice any party. Moreover, renewal in this Court is more efficient than having
 7    EDF refile the Motion in the United States District Court for the District of Columbia,
 8    as EDF understands is required by Federal Rules of Civil Procedure 45(d)(3)(a) and
 9    45(f), only to then be transferred to this Court once again. Notably, Pacific Bell does
10    not oppose renewal of the Motion to Quash. (Id., ¶ 8 & Ex. 1.)
11               Additionally, EDF respectfully moves to have this case reassigned to Judge
12    Peterson. In view of Judge Peterson’s familiarity with the facts and procedural posture
13    of the Underlying Case, a reassignment to Judge Peterson would promote the efficient
14    use of judicial resources and the just resolution of the issues in dispute. Pacific Bell
15    does not oppose reassignment of the matter to Judge Peterson. (Id.)
16    IV.    CONCLUSION.
17               For the foregoing reasons, EDF respectfully moves unopposed for an Order
18    renewing the Motion to Quash and reassigning this case to Judge Peterson.
19

20    DATED: April 3, 2024                 BLANK ROME LLP
21

22
                                           By: /s/ Harrison Brown
23                                                 Harrison Brown
                                                   Alan M. Freeman
24                                         Attorneys for Non-Party Movant
                                           ENVIRONMENTAL DEFENSE FUND, INC.
25

26

27

28
     134999747                                    4                   Case No. 2:24-mc-00004-DAD-DB
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF UNOPPOSED MOTION FOR
             ADMINISTRATIVE RELIEF - TO RENEW MOTION TO QUASH AND REASSIGN
